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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 1:17-cv-21138-CIV-ALTONAGA/Goodman


  JOSE A. FERNANDEZ,

         Plaintiff,

  v.

  DIRECTV, LLC.;
  I.C. SYSTEM, INC.;
  and EQUIFAX, INC.,

        Defendants.
  _____________________________/

                      JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

         COMES NOW, Plaintiff, Jose A. Fernandez, and Defendants, DirecTV, LLC., I.C.

  System, Inc., and Equifax, Inc., pursuant to Rule 41 of the Federal Rules of Civil Procedure, do

  hereby stipulate and respectfully request as follows:

         1.      The Court dismiss the Complaint with prejudice.

         2.      Each party shall bear their own attorneys' fees and costs for this action.

         3.      The parties condition the effectiveness of this stipulation on the Court’s entry of

  an order retaining jurisdiction to enforce the settlement agreement in accordance with its terms.

  See Anago Franchising, Inc. v. Shazz, LLC, 677 F.3d 1272, 1280 (11th Cir. 2012).

         WHEREFORE, the Plaintiff respectfully requests that this matter be dismissed with

  prejudice and the Court reserve jurisdiction to enforce the parties’ settlement agreement in

  accordance with its terms.
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 20th day of July 2017, that the foregoing document is

  being served this date via U.S. mail and/ or some other authorized manner for those counsel or

  parties, if any, who are not authorized to receive electronic notices.

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